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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION


 JAMES T. MILLER AND                               )
 CYNTHIA K. MILLER                                 )
                                                   )
                PLAINTIFFS,                        )
 v.                                                ) CASE NO. 3:18-cv-552-RGJ
                                                   )
 FIFTH THIRD BANK                                  )
                                                   )
                DEFENDANT.                         )
                                                   )


                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to FRCP 41(a)(1)(A)(ii) and (c), Plaintiff, James T. Miller and Cynthia K. Miller

 (hereinafter “Plaintiffs”), by counsel, and Defendant, Fifth Third Bank (“Fifth Third”), hereby

 jointly request that this Court dismiss all claims that were or could have been asserted by Plaintiffs

 in their Complaint against Fifth Third WITH PREJUDICE. The parties shall bear their own costs

 and fees.
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 HAVING SEEN AND AGREED:


  /s/ David W. Hemminger (with permission)       /s/ J. Tanner Watkins
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